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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,

               Plaintiff,

       vs.                                                     Civ. No. 20-237 KK/SCY

MEOW WOLF, INC., a Delaware
Corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

               Defendant.

      ORDER GRANTING IN PART DEFENDANT’S REQUEST FOR SURREPLY

       This matter comes before the Court on Defendant Meow Wolf’s “Request for Surreply to

Plaintiff’s Reply in Support of her Motion to Compel,” filed April 12, 2021. Doc. 96. Plaintiff

filed a motion to compel, along with exhibits and a request for judicial notice, on February 22,

2021. Docs. 72, 74, 75, 78. Defendant Meow Wolf filed its response on March 15, 2021, Doc.

83, and Plaintiff filed a reply and exhibits on March 29, 2021, Docs. 87, 88, 89. Defendant now

requests to file a surreply to the motion to compel, asserting that Plaintiff attached significant

new material as exhibits to her reply and that it needs an opportunity to respond to the new

evidence and arguments. Doc. 96.

       “The filing of a surreply requires leave of the Court.” D.N.M. LR-Civ. 7.4(b). “A

surreply is appropriate and should be allowed where new arguments are raised in a reply brief.”

Navajo Health Foundation-Sage Memorial Hosp., Inc. v. Burwell, 110 F. Supp 3d. 1140, 1180

(D.N.M. 2015). In this case, the Court agrees that Plaintiff raised new argument in her reply

which Meow Wolf should be able to respond to in a surreply. Specifically, as Defendant points

out, Plaintiff attached and discussed five exhibits to her reply, two emails and three articles, that
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she has not previously referred to or attached. However, the Court also agrees with Plaintiff that

the majority of the 89 pages of exhibits attached to the reply do not contain new information.

Instead, the majority of the 89 pages consist of discovery propounded and provided that is

already in the possession of both parties. See Doc. 88-6 to 88-10. Accordingly, the Court will

limit the length and amount of time Defendant Meow Wolf shall have to file a surreply.

       IT IS THEREFORE ORDERED THAT Defendant Meow Wolf’s “Request for

Surreply to Plaintiff’s Reply in Support of her Motion to Compel” (Doc. 96) is GRANTED IN

PART. Defendant Meow Wolf may file a surreply limited to 5 double-spaces pages in length

within 7 calendar days of the entry of this Order.




                                              ______________________________________
                                              STEVEN C. YARBROUGH
                                              United States Magistrate Judge
